Case: 4:17-cv-01542-ERW Doc. #: 101 Filed: 01/11/19 Page: 1 of 3 PageID #: 483



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

ROSLYN BROWN, and R.Z., a Minor, through )
her Mother and Next Friend, Roslyn Brown, )
                                          )
              Plaintiffs,                 )
                                          )
v.                                        )         Case No. 4:17-cv-1542
                                          )
CITY OF PINE LAWN, MISSOURI,              )
FORMER PINE LAWN LIEUTENANT               )
STEVEN BLAKENEY,                          )
PINE LAWN POLICE OFFICER                  )
LAWRENCE FLEMING,                         )
PINE LAWN POLICE OFFICER                  )
BRIAN BRITTON,                            )
PINE LAWN POLICE OFFICER                  )
FELICIA SHELTON,                          )
PINE LAWN POLICE OFFICER                  )
STEVEN LOWMAN, and                        )
PINE LAWN HOUSING INSPECTOR               )
RAYMOND WINSTON,                          )
                                          )
              Defendants.                 )

                  AMENDED JOINT PROPOSED SCHEDULING PLAN

       Pursuant to this Court’s order of January 8, 2019, (ECF No. 100), the parties, by and

through counsel, jointly propose to the Court the following scheduling plan:


       a.      This case has been assigned to Track 2 (Standard), which the parties believe is
               appropriate.

       b.      Motions for joinder of additional parties or amendment of the pleadings shall be
               filed no later than March 1, 2019.

       c.      Discovery shall be conducted as follows:

             i.       The parties shall exchange the initial disclosures required by Fed.R.Civ.P.
                      26(a)(1) by July 27, 2018.
Case: 4:17-cv-01542-ERW Doc. #: 101 Filed: 01/11/19 Page: 2 of 3 PageID #: 484



             ii.          The parties agree that discovery need not be conducted in phases or limited
                          to certain issues.

            iii.          The presumptive limits of ten (10) depositions per side as set forth in
                          Fed.R.Civ.P. 30(a)(2)(A), and twenty five (25) interrogatories per party as
                          set forth in Fed.R.Civ.P. 33(a) shall apply in this case.

            iv.           Mental or physical examinations pursuant to Fed.R.Civ.P. 35 may be
                          requested in this case.

             v.           Plaintiffs shall disclose their expert witnesses’ identities and reports by
                          March 1, 2019, and make expert witnesses available for deposition by
                          March 29, 2019. Defendants shall disclose their expert witness identities
                          and reports by May 17, 2019, and make their expert witnesses available for
                          depositions by June 21, 2019.

            vi.           All discovery shall be completed by June 28, 2019. Motion(s) to Compel
                          shall be filed by July 12, 2019.

            vii.          Any other matters pertinent to the completion of discovery in this case?
                          None at this time.
       c.          The parties agree to participate in mediation and such mediation would be most
                   productive after March 1, 2019, but before April 19, 2019.

       d.          All dispositive motions shall be filed by July 26, 2019.

       e.          The earliest date by which this case should reasonably be expected to be ready for
                   trial is December 2, 2019.

       f.          The parties estimate the length of time expected to try the case to verdict to be seven
                   (7) days.
       WHEREFORE, the Parties pray this Court adopt this Joint Proposed Scheduling Plan, and

for any other relief as this Court deems proper.

Dated: January 11, 2019                           Respectfully submitted,

                                                  ARCHCITY DEFENDERS, INC.

                                                  By:/s/ John M. Waldron
                                                     Blake A. Strode (MBE #68422MO)
                                                     Michael-John Voss (MBE #61742MO)
                                                     Sima Atri (MBE #70489MO)
                                                     John M. Waldron (MBE #70401MO)
                                                     440 N. 4th Street, Suite 390


                                                   2 of 3
Case: 4:17-cv-01542-ERW Doc. #: 101 Filed: 01/11/19 Page: 3 of 3 PageID #: 485



                                                Saint Louis, MO 63102
                                                855-724-2489 ext. 1021
                                                314-925-1307 (fax)
                                                bstrode@archcitydefenders.org
                                                mjvoss@archcitydefenders.org
                                                satri@archcitydefenders.org
                                                jwaldron@archcitydefenders.org

                                                Attorneys for Plaintiff

                                                /s/ Matthew W. Murphy (with consent)
                                                Matthew W. Murphy #47786MO
                                                Sarah L. Crawford #70010MO
                                                3901 S. Providence, Suite D
                                                Columbia, MO 65203
                                                Tel:       (573) 777-4488
                                                Fax:       (573) 777-4489
                                                Matt@vbmlaw.com
                                                sarah@vbmlaw.com
                                                Attorneys for Defendant Steven Blakeney

                                          and

                                                KING KREHBIEL & HELLMICH, LLC

                                                /s/ Blake D. Hill (with consent)
                                                Blake D. Hill #58926MO
                                                2000 South Hanley Road
                                                St. Louis, MO 63144-1524
                                                Phone:     314-646-1110
                                                Fax:       314-646-1122
                                                E-mail:    bhill@kingkrehbiel.com
                                                Attorney for Defendants City of Pine Lawn and
                                                Defendants Fleming, Britton, Shelton, Winston,
                                                and Lowman

                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all parties of record will receive notice of the
foregoing via this Court’s electronic filing system on this 11th day of January, 2019.



                                           /s/ John M. Waldron




                                           3 of 3
